     Case 2:90-cv-00520-KJM-SCR           Document 5055          Filed 02/06/14      Page 1 of 5


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10                             IN THE UNITED STATES DISTRICT COURT

11                           FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                        SACRAMENTO DIVISION

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14
       RALPH COLEMAN, et al.,                                2:90-cv-00520 LKK DAD PC
15
                                              Plaintiffs, DEFENDANTS URGENT REQUEST FOR:
16
                     v.                                      (1) RECONSIDERATION OF JANUARY
17
                                                             30, 2014 ORDER OPENING DISCOVERY
18     EDMUND G. BROWN JR., et al.,                          (ECF 5034); AND

19                                         Defendants. (2) STAY OF MAGISTRATE JUDGE
                                                       DROZD'S ORDER OF FEBRUARY 5, 2014
20                                                     (ECF 5054).
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                                                             HEARING REQUESTED
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                  Defendants’ Urgent Request for Reconsideration & Stay of Discovery (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5055          Filed 02/06/14      Page 2 of 5


 1            Defendants respectfully request that the Court reconsider its January 30, 2014 order
 2     opening discovery “as to whether relevant information concerning this death [of Inmate D] was
 3     withheld from plaintiffs or the court during the course of the evidentiary hearing which
 4     commenced on October 1, 2013.” (ECF No. 5034.) Plaintiffs’ request to open discovery was
 5     based on materially incomplete and/or false representations to the Court. (See ECF Nos. 4982 &
 6     4982-1.) Plaintiffs have since admitted in their subsequent filings that they received and
 7     downloaded the information necessary to understand that Inmate D’s death involved the use of
 8     pepper spray no later than September 25, 2013. (Supp. Decl. Michael Bien, ECF No. 5041, at ¶ 5,
 9     Feb. 3, 2014; Decl. Jane Kahn, ECF No. 5042, at ¶ 3 & Ex. 1, Feb. 3, 2014.)
10           As the Magistrate Judge recognized in his February 5, 2014 order, “the principal dispute of
11     the parties continues to be whether any further discovery at all is appropriate.” (ECF No. 5054 at
12     2:13-14.) The record demonstrates that further discovery on this issue is inappropriate. 1 Because
13     the Magistrate Judge determined it was not the “province of the undersigned to reconsider the
14     assigned District Judge’s order opening discovery” (id. at 3:15-16), Defendants present their
15     request to this Court. Additionally, in light of Plaintiffs’ excessive and burdensome discovery
16     requests, Defendants request that this Court stay all discovery pending determination of this
17     request for reconsideration.
18     I.    THE COURT SHOULD RECONSIDER ITS ORDER OPENING DISCOVERY AS IT WAS
             BASED UPON FALSE PREMISES PROVIDED BY PLAINTIFFS’ COUNSEL.
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20           Plaintiffs persuaded this Court to reopen discovery based on the false assertions that
21     Defendants may have chosen to withhold information about the death of Inmate D in advance of
22     the hearings on Plaintiffs’ use-of-force motion. Immediately after the parties went off the record
23     following the status conference on January 30, 2014, Plaintiffs’ counsel told Defendants’ counsel
24     that Plaintiffs accessed documents related to Inmate D’s death through the secure FTP site in
25
              1
                To the extent the Court continues to have an interest in the circumstances of Inmate D’s
26     death, the parties have agreed that the Court should consider the January 7, 2014 Suicide Report,
       attached as Exhibit D to the Confidential Declaration of Michael Bien, as well as the CCHCS
27     Final Death Review, attached as Exhibit 2 to the Confidential Declaration of Tim Belavich. This
       agreement renders any further discovery unnecessary.
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                   Defendants’ Urgent Request for Reconsideration & Stay of Discovery (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5055          Filed 02/06/14      Page 3 of 5


 1     September 2013. (Decl. Patrick McKinney, ECF No. 5045, Feb. 3, 2014.) The documents
 2     available on the FTP site—which is the longstanding method for providing information about
 3     inmate deaths to Plaintiffs’ counsel and the Special Master—included the Notice of Death
 4     (uploaded September 16, 2013); the Initial Report of Death (uploaded September 17, 2013),
 5     which specifically references the use of pepper spray on Inmate D; and Inmate D’s medical
 6     records. (Conf. Decl. Tim Belavich, ECF No. 5030, at ¶¶ 5-6, Jan. 29, 2014; see also Conf. Bien
 7     Decl., ECF No. 4982-1, at Ex. F, Jan. 17, 2014.) 2 It remains unclear why Plaintiffs failed to raise
 8     this material fact to the Court during the January 30 status conference.
 9           On February 3, 2014, Plaintiffs, through the Declarations of Michael Bien and Jane Kahn,
10     admitted that they actually downloaded this information no later than September 25, 2013. (See
11     Supp. Decl. Michael Bien, ECF No. 5041, at ¶ 5; Decl. Jane Kahn, ECF No. 5042, at ¶ 3.)
12     Despite this testimony, Plaintiffs falsely asserted that this information was “not downloaded or
13     otherwise reviewed by Plaintiffs’ counsel.” (Joint Statement 2:11-12.) Since this assertion was
14     contrary to their own evidence, Plaintiffs filed an Errata on February 4 in which they made the
15     incredible assertion that this information was “only downloaded as part of routine file
16     maintenance and not reviewed . . . .” (Errata, ECF No. 5050.)
17           The notion that Plaintiffs should be permitted to reopen discovery because they failed to
18     timely review the downloaded documents is absurd. Defendants’ burden ended with production
19     of the relevant information, and it is undisputed that Defendants produced the information
20     necessary for Plaintiffs to gain a fair understanding of the facts and circumstances concerning the
21     death of Inmate D no later than September 25, 2013, before the start of the evidentiary hearing.
22     Furthermore, Exhibit 1 to the February 3, 2014 Declaration of Jane Kahn proves that Plaintiffs’
23            2
                 Defendants also had no obligation to issue a suicide report before November 7, 2013, the
       date the evidentiary hearing closed on Plaintiffs’ use-of-force motion. The notice provided on
24     September 16, 2013 disclosed that CDCR was uncertain whether Inmate D’s death was a suicide
       or an accidental death. (Bien Conf. Decl. Ex. C.) As the notice states, two independent medical
25     doctors concluded that Inmate D’s “death was not a suicide, but rather an accidental death as he
       did not express active intent to kill himself.” (Id.) Under these circumstances, the Program
26     Guide does not require a suicide report within 60 days. (Mental Health Services Delivery System
       Program Guide (2009 Revision) 12-10-26.) Moreover, a June 2002 order provides that if there is
27     a genuine issue as to whether a death is a suicide, a suicide report must be issued only after said
       death is determined to be a suicide. (ECF 1384 ¶ 7.)
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                   Defendants’ Urgent Request for Reconsideration & Stay of Discovery (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5055          Filed 02/06/14      Page 4 of 5


 1     paralegal notified Mr. Bien and Ms. Kahn that all of the documents relevant to Inmate D’s death,
 2     including the “Initial Inmate Death Report” which specifically referenced the use of pepper spray,
 3     were available for their review. (Conf. Decl. Jane Kahn Ex. 1.)
 4           Plaintiffs’ admitted lack of diligence provides no basis for reopening discovery, and their
 5     numerous misrepresentations and omissions to the Court warrant an end to this fishing
 6     expedition. If the Court orders discovery to proceed, Defendants’ response to Plaintiffs’
 7     discovery requests is straightforward: Plaintiffs had the necessary information concerning Inmate
 8     D prior to the start of the evidentiary hearing on Plaintiffs’ use-of-force motion. Since there is no
 9     basis for any further inquiry into “whether relevant information concerning this death was
10     withheld from Plaintiffs or the court during the course of the evidentiary hearing which
11     commenced on October 1, 2013” (Order filed Jan. 30, 2014, at 2, ECF No. 5034), Defendants
12     respectfully request that the Court close discovery as to this issue.
13     II.   DEFENDANTS’ REQUEST THAT THE COURT STAY ALL DISCOVERY PENDING
             DETERMINATION OF DEFENDANTS’ REQUEST FOR RECONSIDERATION.
14

15           Although there is no basis for further inquiry into Inmate D’s death, Plaintiffs’ counsel
16     immediately sent an e-mail to Counsel for Defendants after the Magistrate Judge issued his order
17     advising they intended to notice 8 depositions, in addition to their overly broad requests for
18     production of documents. (See Bien Supp. Decl., ECF No. 5041, at Ex. A, Feb. 3, 2014.)
19           The parties have already agreed that the Court should consider the reports on Inmate D’s
20     death to determine whether it is relevant to Plaintiffs’ use-of-force motion. Additional
21     discovery—including responding to Plaintiffs’ burdensome document requests and taking and
22     defending 8 depositions—is a waste of resources, particularly because the facts firmly establish
23     that Plaintiffs had the necessary information prior to the start of the evidentiary hearing on
24     Plaintiffs’ use-of-force motion. Had Plaintiffs’ counsel spent more than 1 minute reading the
25     information they had (see Decl. Jane Kahn, ECF No. 5042, at 3, Feb. 3, 2014.), or if they had
26     presented the truth to the Court on January 17, none of these proceedings would have been
27     necessary. To avoid the unnecessary expenditure of funds and the time of CDCR staff that could
28     be better spent focusing on patient care, Defendants respectfully request the Court stay the
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                   Defendants’ Urgent Request for Reconsideration & Stay of Discovery (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR           Document 5055          Filed 02/06/14      Page 5 of 5


 1     Magistrate Judge’s February 5, 2014 order until the Court has considered and decided
 2     Defendants’ request for reconsideration.
 3     Dated: February 6, 2014                               Respectfully submitted,
 4                                                           KAMALA D. HARRIS
                                                             Attorney General of California
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 6
                                                             /s/ Patrick R. McKinney
 7                                                           PATRICK R. MCKINNEY
                                                             Supervising Deputy Attorney General
 8                                                           Attorneys for Defendants
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                  Defendants’ Urgent Request for Reconsideration & Stay of Discovery (2:90-cv-00520 LKK DAD PC)
